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16
17                             UNITED STATES DISTRICT COURT
18               CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
19   NOAH McGUIRE,                                Case No. 5:21-cv-00791-JGB (SPx)
20                               Plaintiff,
             vs.                                  STIPULATED PROTECTIVE
21                                                ORDER
     POLARIS INDUSTRIES, INC., and
22   DOES 1-50,
                                                  Case Assigned to Judge Jesus G. Bernal
23                               Defendants.      Magistrate Judge Sheri Pym
24                                                Complaint Filed: March 19, 2021
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 1   1.      INTRODUCTION
 2           1.1   PURPOSES AND LIMITATIONS
 3           Discovery in this action is likely to involve production of confidential,
 4   proprietary, or private information for which special protection from public
 5   disclosure and from use for any purpose other than prosecuting this litigation may
 6   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
 7   enter the following Stipulated Protective Order. The parties acknowledge that this
 8   Order does not confer blanket protections on all disclosures or responses to
 9   discovery and that the protection it affords from public disclosure and use extends
10   only to the limited information or items that are entitled to confidential treatment
11   under the applicable legal principles. The parties further acknowledge, as set forth in
12   Section 12.3, below, that this Stipulated Protective Order does not entitle them to
13   file confidential information under seal; Civil Local Rule 79-5 sets forth the
14   procedures that must be followed and the standards that will be applied when a party
15   seeks permission from the court to file material under seal.
16           1.2   GOOD CAUSE STATEMENT
17           This products liability case is likely to involve trade secrets, and other
18   valuable research, development, commercial, financial, technical and/or proprietary
19   information relating to the products at issue in this litigation, for which special
20   protection from public disclosure and from use for any purposes other than the
21   prosecution of this action is warranted. Such confidential and proprietary materials
22   and information consist of, among other things, confidential business or financial
23   information, information regarding confidential business practices or other
24   confidential personnel information that implicates the privacy rights of third parties,
25   information otherwise generally unavailable to the public or which may be
26   privileged or otherwise protected from disclosure under state or federal statutes,
27   court rules, case decisions, or common law. Accordingly, to expedite the flow of
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 1   information, to facilitate the prompt resolution of disputes over confidentiality of
 2   discovery materials, to adequately protect information the parties are entitled to
 3   keep confidential, to ensure that the parties are permitted reasonably necessary uses
 4   of such material in preparation for and in the conduct of trial, to address their
 5   handling at the end of the litigation, and to serve the ends of justice, a protective
 6   order for such information is justified in this matter. It is the intent of the parties
 7   that information will not be designated as confidential for tactical reasons and that
 8   no document will be so designated without a good-faith belief that it has been
 9   maintained in a confidential manner and there is good cause why it should not be
10   part of the public record of this case.
11
12   2.      DEFINITIONS
13               2.1   Action: this pending federal law suit. McGuire v. Polaris Industries,
14   Inc. et al., United States District Court, Central District of California, Case No.:
15   5:21-cv-00791-JGB-SP.
16               2.2   Challenging Party: a Party or Non-Party that challenges the designation
17   of information or items under this Order.
18               2.3   “CONFIDENTIAL” Information or Items: information (regardless of
19   how it is generated, stored or maintained) or tangible things that qualify for
20   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
21   the Good Cause Statement.
22               2.4   Counsel: Outside Counsel of Record and House Counsel (as well as
23   their support staff).
24               2.5   Designating Party: a Party or Non-Party that designates information
25   or items that it produces in disclosures or in responses to discovery as
26   “CONFIDENTIAL.”
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 1               2.6   Disclosure or Discovery Material: all items or information, regardless
 2   of the medium or manner in which it is generated, stored, or maintained (including,
 3   among other things, testimony, transcripts, and tangible things), that are produced
 4   or generated in disclosures or responses to discovery in this matter.
 5               2.7   Expert: a person with specialized knowledge or experience in a matter
 6   pertinent to the litigation who has been retained by a Party or its counsel to serve
 7   as an expert witness or as a consultant in this Action.
 8               2.8   House Counsel: attorneys who are employees of a party to this Action.
 9   House Counsel does not include Outside Counsel of Record or any other outside
10   counsel.
11               2.9   Non-Party: any natural person, partnership, corporation, association, or
12   other legal entity not named as a Party to this action.
13               2.10 Outside Counsel of Record: attorneys who are not employees of a party
14   to this Action but are retained to represent or advise a party to this Action and have
15   appeared in this Action on behalf of that party or are affiliated with a law firm which
16   has appeared on behalf of that party, and includes support staff.
17               2.11 Party: any party to this Action, including all of its officers, directors,
18   employees, consultants, retained experts, and Outside Counsel of Record (and their
19   support staffs).
20               2.12 Producing Party: a Party or Non-Party that produces Disclosure or
21   Discovery Material in this Action.
22               2.13 Professional Vendors: persons or entities that provide litigation support
23   services (e.g., photocopying, videotaping, translating, preparing exhibits or
24   demonstrations, and organizing, storing, or retrieving data in any form or medium)
25   and their employees and subcontractors.
26               2.14 Protected Material: any Disclosure or Discovery Material that is
27   designated as “CONFIDENTIAL.”
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 1               2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
 2   from a Producing Party.
 3
 4   3.      SCOPE
 5           The protections conferred by this Stipulation and Order cover not only
 6   Protected Material (as defined above), but also (1) any information copied or
 7   extracted from Protected Material; (2) all copies, excerpts, summaries, or
 8   compilations of Protected Material; and (3) any testimony, conversations, or
 9   presentations by Parties or their Counsel that might reveal Protected Material.
10           Any use of Protected Material at trial will be governed by the orders of the
11   trial judge. This Order does not govern the use of Protected Material at trial.
12
13   4.      DURATION
14           Even after final disposition of this litigation, the confidentiality obligations
15   imposed by this Order will remain in effect until a Designating Party agrees
16   otherwise in writing or a court order otherwise directs. Final disposition will be
17   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
18   or without prejudice; and (2) final judgment herein after the completion and
19   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
20   including the time limits for filing any motions or applications for extension of time
21   pursuant to applicable law.
22
23   5.      DESIGNATING PROTECTED MATERIAL
24           5.1      Exercise of Restraint and Care in Designating Material for Protection.
25   Each Party or Non-Party that designates information or items for protection under
26   this Order must take care to limit any such designation to specific material that
27   qualifies under the appropriate standards. The Designating Party must designate
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 1   for protection only those parts of material, documents, items, or oral or written
 2   communications that qualify so that other portions of the material, documents,
 3   items, or communications for which protection is not warranted are not swept
 4   unjustifiably within the ambit of this Order.
 5           Mass, indiscriminate, or routinized designations are prohibited. Designations
 6   that are shown to be clearly unjustified or that have been made for an improper
 7   purpose (e.g., to unnecessarily encumber the case development process or to impose
 8   unnecessary expenses and burdens on other parties) may expose the Designating
 9   Party to sanctions.
10           If it comes to a Designating Party’s attention that information or items that it
11   designated for protection do not qualify for protection, that Designating Party must
12   promptly notify all other Parties that it is withdrawing the inapplicable designation.
13           5.2   Manner and Timing of Designations. Except as otherwise provided in
14   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
15   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
16   under this Order must be clearly so designated before the material is disclosed or
17   produced.
18           Designation in conformity with this Order requires:
19           (a)   for information in documentary form (e.g., paper or electronic
20   documents, but excluding transcripts of depositions or other pretrial or trial
21   proceedings), that the Producing Party affix at a minimum, the legend
22   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
23   contains protected material. If only a portion or portions of the material on a page
24   qualifies for protection, the Producing Party also must clearly identify the protected
25   portion(s) (e.g., by making appropriate markings in the margins).
26           A Party or Non-Party that makes original documents available for inspection
27   need not designate them for protection until after the inspecting Party has indicated
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 1   which documents it would like copied and produced. During the inspection and
 2   before the designation, all of the material made available for inspection will be
 3   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
 4   documents it wants copied and produced, the Producing Party must determine which
 5   documents, or portions thereof, qualify for protection under this Order. Then, before
 6   producing the specified documents, the Producing Party must affix the
 7   “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
 8   portion or portions of the material on a page qualifies for protection, the Producing
 9   Party also must clearly identify the protected portion(s) (e.g., by making appropriate
10   markings in the margins).
11           (b)   for testimony given in depositions or other oral testimony to be recorded
12   in a written transcript, the Designating Party may designate information as
13   “Confidential” by making a statement on the record to that effect during the
14   deposition or proceeding at issue. The court reporter shall separately bind the
15   designated portion of the deposition transcript and all designated exhibits. The
16   separately bound deposition material shall be marked in accordance with its
17   designation, as “CONFIDENTIAL, SUBJECT TO PROTECTIVE ORDER.”
18   Alternatively, the Designating Party may, within a reasonable time after the
19   deposition transcript is delivered to the Designating Party, provide to all counsel
20   written notice identifying the specific portion (by page and line numbers) that the
21   Designating Party seeks to protect, and all parties to the litigation will mark the
22   pages with the appropriate legends.
23           (c)   for information produced in some form other than documentary and for
24   any other tangible items, that the Producing Party affix in a prominent place on the
25   exterior of the container or containers in which the information is stored the legend
26   “CONFIDENTIAL.” If only a portion or portions of the information warrants
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 1   protection, the Producing Party, to the extent practicable, will identify the protected
 2   portion(s).
 3           5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
 4   failure to designate qualified information or items does not, standing alone, waive
 5   the Designating Party’s right to secure protection under this Order for such
 6   material. Upon timely correction of a designation, the Receiving Party must make
 7   reasonable efforts to assure that the material is treated in accordance with the
 8   provisions of this Order.
 9
10   6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
11           6.1    Timing of Challenges. Any Party or Non-Party may challenge a
12   designation of confidentiality at any time that is consistent with the Court’s
13   Scheduling Order.
14           6.2    Meet and Confer. The Challenging Party will initiate the dispute
15   resolution process (and, if necessary, file a discovery motion) under Local Rule
16   37.1 et seq.
17           6.3    The burden of persuasion in any such challenge proceeding will be on
18   the Designating Party. Frivolous challenges, and those made for an improper purpose
19   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
20   expose the Challenging Party to sanctions. Unless the Designating Party has waived
21   or withdrawn the confidentiality designation, all parties will continue to afford the
22   material in question the level of protection to which it is entitled under the Producing
23   Party’s designation until the Court rules on the challenge.
24
25   7.      ACCESS TO AND USE OF PROTECTED MATERIAL
26           7.1    Basic Principles. A Receiving Party may use Protected Material that is
27   disclosed or produced by another Party or by a Non-Party in connection with this
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 1   Action only for prosecuting, defending, or attempting to settle this Action. Such
 2   Protected Material may be disclosed only to the categories of persons and under the
 3   conditions described in this Order. When the Action has been terminated, a
 4   Receiving Party must comply with the provisions of section 13 below (FINAL
 5   DISPOSITION).
 6           Protected Material must be stored and maintained by a Receiving Party at a
 7   location and in a secure manner that ensures that access is limited to the persons
 8   authorized under this Order.
 9           7.2       Disclosure of “CONFIDENTIAL” Information or Items. Unless
10   otherwise ordered by the court or permitted in writing by the Designating Party, a
11   Receiving         Party    may     disclose    any   information   or   item   designated
12   “CONFIDENTIAL” only to:
13               (a)   the Receiving Party’s Outside Counsel of Record in this Action, as well
14   as employees of said Outside Counsel of Record to whom it is reasonably necessary
15   to disclose the information for this Action;
16               (b)   the officers, directors, and employees (including House Counsel) of
17   the Receiving Party to whom disclosure is reasonably necessary for this Action;
18               (c)   Experts (as defined in this Order) of the Receiving Party to
19   whom disclosure is reasonably necessary for this Action and who have
20   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
21               (d)   the Court and its personnel;
22               (e)   court reporters and their staff;
23               (f)   professional jury or trial consultants, mock jurors, and Professional
24   Vendors to whom disclosure is reasonably necessary for this Action and who have
25   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
26               (g)   the author or recipient of a document containing the information or
27   a custodian or other person who otherwise possessed or knew the information;
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 1               (h)   during their depositions, witnesses, and attorneys for witnesses, in the
 2   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
 3   requests that the witness sign the form attached as Exhibit A hereto; and (2) they
 4   will not be permitted to keep any confidential information unless they sign the
 5   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
 6   agreed by the Designating Party or ordered by the court. Pages of transcribed
 7   deposition testimony or exhibits to depositions that reveal Protected Material may
 8   be separately bound by the court reporter and may not be disclosed to anyone except
 9   as permitted under this Stipulated Protective Order; and
10               (i)   the insurer of a party to litigation and employees of such insurer to
11   the extent reasonably necessary to assist the party’s counsel to afford the
12   insurer an opportunity to investigate and evaluate the claim for purposes of
13   determining coverage and for settlement purposes; and
14               (j)   any mediator or settlement officer, and their supporting personnel,
15   mutually agreed upon by any of the parties engaged in settlement discussions.
16
17   8.      PROTECTED              MATERIAL          SUBPOENAED            OR      ORDERED
18   PRODUCED IN OTHER LITIGATION
19               If a Party is served with a subpoena or a court order issued in other litigation
20   that compels disclosure of any information or items designated in this Action as
21   “CONFIDENTIAL,” that Party must:
22           (a)       promptly notify in writing the Designating Party. Such notification
23   will include a copy of the subpoena or court order;
24           (b)       promptly notify in writing the party who caused the subpoena or order
25   to issue in the other litigation that some or all of the material covered by the
26   subpoena or order is subject to this Protective Order. Such notification will
27   include a copy of this Stipulated Protective Order; and
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 1           (c)    cooperate with respect to all reasonable procedures sought to be
 2   pursued by the Designating Party whose Protected Material may be affected.
 3           If the Designating Party timely seeks a protective order, the Party served with
 4   the subpoena or court order will not produce any information designated in this
 5   action as “CONFIDENTIAL” before a determination by the court from which the
 6   subpoena or order issued, unless the Party has obtained the Designating Party’s
 7   permission. The Designating Party will bear the burden and expense of seeking
 8   protection in that court of its confidential material and nothing in these provisions
 9   should be construed as authorizing or encouraging a Receiving Party in this Action
10   to disobey a lawful directive from another court.
11
12   9.      A     NON-PARTY’S       PROTECTED         MATERIAL        SOUGHT        TO    BE
13   PRODUCED IN THIS LITIGATION
14           (a)    The terms of this Order are applicable to information produced by a
15   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
16   produced by Non-Parties in connection with this litigation is protected by the
17   remedies and relief provided by this Order. Nothing in these provisions should be
18   construed as prohibiting a Non-Party from seeking additional protections.
19           (b)    In the event that a Party is required, by a valid discovery request, to
20   produce a Non-Party’s confidential information in its possession, and the Party is
21   subject to an agreement with the Non-Party not to produce the Non-Party’s
22   confidential information, then the Party will:
23                  (1)   promptly notify in writing the Requesting Party and the Non-
24   Party that some or all of the information requested is subject to a confidentiality
25   agreement with a Non-Party;
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 1                 (2)    promptly provide the Non-Party with a copy of the Stipulated
 2   Protective Order in this Action, the relevant discovery request(s), and a reasonably
 3   specific description of the information requested; and
 4                 (3)    make the information requested available for inspection by the
 5   Non-Party, if requested. If the Non-Party fails to seek a protective order from this
 6   court within 14 days of receiving the notice and accompanying information, the
 7   Receiving Party may produce the Non-Party’s confidential information responsive
 8   to the discovery request. If the Non-Party timely seeks a protective order, the
 9   Receiving Party will not produce any information in its possession or control that is
10   subject to the confidentiality agreement with the Non-Party before a determination
11   by the court. Absent a court order to the contrary, the Non-Party will bear the
12   burden and expense of seeking protection in this court of its Protected Material.
13
14   10.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
15           If a Receiving Party learns that, by inadvertence or otherwise, it has
16   disclosed Protected Material to any person or in any circumstance not authorized
17   under this Stipulated Protective Order, the Receiving Party must immediately (a)
18   notify in writing the Designating Party of the unauthorized disclosures, (b) use its
19   best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform
20   the person or persons to whom unauthorized disclosures were made of all the terms
21   of this Order, and (d) request such person or persons to execute the
22   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
23   A.
24   ///
25   ///
26   ///
27   ///
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 1   11.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 2   PROTECTED MATERIAL
 3               Pursuant to Fed. R. Evid. 502(d), the production of privileged or work-
 4   product protected documents, whether inadvertent or otherwise, is not a waiver of
 5   the privilege or protection from discovery in this case or in any other federal or
 6   state proceeding. For example, the mere production of privileged or work-
 7   product-protected documents in this case as part of a mass production is not itself
 8   a waiver in this case or in any other federal or state proceeding. Nothing in this
 9   paragraph shall require a party to produce documents that are protected from
10   disclosure. This paragraph shall be interpreted to provide the greatest protection
11   allowed by Federal Rule of Evidence 502, or otherwise permitted by law.
12               Nothing contained herein is intended to or shall serve to limit a party’s right
13   to conduct a review of documents, ESI or information (including metadata) for
14   relevance, responsiveness and/or segregation of privileged and/or protected
15   information before production.
16               If the Requesting Party has reason to believe that a produced document or
17   other information may reasonably be subject to a claim of privilege, then the
18   Requesting Party shall immediately sequester the document or information, cease
19   using the document or information and cease using any work product containing
20   the information, and shall inform the Designating Party of the beginning BATES
21   number of the document or, if no BATES number is available, shall otherwise
22   inform the Designating Party of the information.
23               A Designating Party must give written notice to any Requesting Party
24   asserting a claim of privilege, work-product protection, or other ground for
25   reclaiming documents or information (a “clawback request”). After a clawback
26   request is received, the Requesting Party shall immediately sequester the document
27   (if not already sequestered) and shall not review or use that document, or any work
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 1   product containing information taken from that document, for any purpose. The
 2   Parties shall meet and confer regarding any clawback request.
 3
 4   12.     MISCELLANEOUS
 5           12.1 Right to Further Relief. Nothing in this Order abridges the right of any
 6   person to seek its modification by the Court in the future.
 7           12.2 Right to Assert Other Objections. By stipulating to the entry of this
 8   Protective Order no Party waives any right it otherwise would have to object to
 9   disclosing or producing any information or item on any ground not addressed in
10   this Stipulated Protective Order. Similarly, no Party waives any right to object on
11   any ground to use in evidence of any of the material covered by this Protective
12   Order.
13           12.3 Filing Protected Material. A Party that seeks to file under seal any
14   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
15   only be filed under seal pursuant to a court order authorizing the sealing of the
16   specific Protected Material at issue. If a Party's request to file Protected Material
17   under seal is denied by the court, then the Receiving Party may file the information
18   in the public record unless otherwise instructed by the court.
19
20   13.     FINAL DISPOSITION
21           After the final disposition of this Action, as defined in paragraph 4, within 60
22   days of a written request by the Designating Party, each Receiving Party must
23   return all Protected Material to the Producing Party or destroy such material. As
24   used in this subdivision, “all Protected Material” includes all copies, abstracts,
25   compilations, summaries, and any other format reproducing or capturing any of the
26   Protected Material. Whether the Protected Material is returned or destroyed, the
27   Receiving Party must submit a written certification to the Producing Party (and, if
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 1   not the same person or entity, to the Designating Party) by the 60 day deadline that
 2   (1) identifies (by category, where appropriate) all the Protected Material that was
 3   returned or destroyed and (2) affirms that the Receiving Party has not retained any
 4   copies, abstracts, compilations, summaries or any other format reproducing or
 5   capturing any of the Protected Material. Notwithstanding this provision, Counsel
 6   are entitled to retain an archival copy of all pleadings, motion papers, trial,
 7   deposition, and hearing transcripts, legal memoranda, correspondence, deposition
 8   and trial exhibits, expert reports, attorney work product, and consultant and expert
 9   work product, even if such materials contain Protected Material. Any such archival
10   copies that contain or constitute Protected Material remain subject to this Protective
11   Order as set forth in Section 4 (DURATION).
12
13   14.     Any willful violation of this Order may be punished by civil or criminal
14   contempt proceedings, financial or evidentiary sanctions, reference to disciplinary
15   authorities, or other appropriate action at the discretion of the Court.
16           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
17
     Dated: September 21, 2021                     LAW OFFICES OF SAMER HABBAS &
18                                                 ASSOCIATES, PC
19
                                                   /s/ Conor Stanton__________
20                                                 Conor Stanton
                                                   Attorneys for Plaintiff Noah McGuire
21
22   Dated: September 21, 2021                     MINTZ LEVIN COHN FERRIS GLOVSKY AND
                                                   POPEO, P.C.
23
                                                   /s/ Arameh Zargham O’Boyle
24                                                 Arameh Zargham O’Boyle
25                                                 Attorneys for Defendant Polaris Inc.

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 1                      ATTESTATION REGARDING SIGNATURES
 2           I, Arameh Zargham O’Boyle, attest pursuant to L.R. 5-4.3.4(a)(2)(i) that all
 3   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
 4   content and have authorized the filing.
 5
     Dated: September 21, 2021                 /s/ Arameh Zargham O’Boyle
 6                                             Arameh Zargham O’Boyle
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                                STIPULATED PROTECTIVE ORDER
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 1                                      ORDER
 2
 3           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
 4
 5   DATED: October 4, 2021
                                       Honorable Judge Sheri Pym
 6                                     United States Magistrate Judge
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                            STIPULATED PROTECTIVE ORDER
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 1                                              EXHIBIT A

 2                   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3
 4   I, ______________________________ [full name], of _________________
 5   __________________ [full address], declare under penalty of perjury that I have
 6   read in its entirety and understand the Stipulated Protective Order that was issued
 7   by the United States District Court for the Central District of California on [date]
 8   in the case of McGuire v. Polaris Industries, Inc., et al., Case No.: 5:21-cv-
 9   00791-JGB-SP. I agree to comply with and to be bound by all the terms of this
10   Stipulated Protective Order and I understand and acknowledge that failure to so
11   comply could expose me to sanctions and punishment in the nature of contempt. I
12   solemnly promise that I will not disclose in any manner any information or item
13   that is subject to this Stipulated Protective Order to any person or entity except in
14   strict compliance with the provisions of this Order.
15               I further agree to submit to the jurisdiction of the United States District Court
16   for the Central District of California for the purpose of enforcing the terms of this
17   Stipulated Protective Order, even if such enforcement proceedings occur after
18    termination of this action. I hereby appoint _________________________ [full
19   name] of _____________________________________________ [full address
20   and telephone number] as my California agent for service of process in
21   connection with this action or any proceedings related to enforcement of this
22   Stipulated Protective Order.
23   Date: ____________________________
24   City and State where signed: _____________________________
25
26   Printed name: ______________________________
27   Signature: _________________________________
28
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                                    STIPULATED PROTECTIVE ORDER
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